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               IN THE UNITED STATES DISTRICT COURT FOR THE
                       NORTHERN DISTRICT OF FLORIDA
                            PENSACOLA DIVISION


UNITED STATES OF AMERICA

v.                                               Case No. 3:10cr6/MCR

CHRISTINA A. WILLIAMS

                                  /

                        ACCEPTANCE OF PLEA OF GUILTY
      Pursuant to the Amended Report and Recommendation of the United States
Magistrate Judge, to which there have been no timely objections, and subject to this
Court’s consideration of the Plea Agreement pursuant to Fed. R. Crim. P. 11, the plea of
guilty of the Defendant, CHRISTINA A. WILLIAMS to Counts I and II of the Superseding
Indictment is hereby ACCEPTED. All parties shall appear before this Court for sentencing
as directed.
      DONE and ORDERED this 8th day of March, 2010.



                                           s/   M. Casey Rodgers
                                          M. CASEY RODGERS
                                          UNITED STATES DISTRICT JUDGE
